    Case: 1:18-cv-07766 Document #: 25 Filed: 02/25/19 Page 1 of 14 PageID #:176




                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ASHLEY NETTLES, individually and )                                  Case No. 18-cv-7766
on behalf of similarly situated persons,
                                 )
                                 )                                  Hon. Edmond E. Chang
               Plaintiff,        )
                                 )
          v.                     )
                                 )
BLATT, HASENMILLER, LEIBSKER &   )
MOORE LLC,                       )
MIDLAND FUNDING LLC, and         )
MIDLAND CREDIT MANAGEMENT, INC., )
                                 )

                PLAINTIFF’S RESPONSE IN OPPOSITION TO
         DEFENDANTS MIDLAND FUNDING LLC’S AND MIDLAND CREDIT
           MANAGEMENT, INC’S MOTION TO COMPEL ARBITRATION

                                       INTORDUCTION

       Plaintiff’s claims under the Fair Debt Collection Practices Act, arise from the attempt to

collect a larger amount of money owned on a Consent Judgment, or put another way, failing to

properly credit Plaintiff for the payments made towards satisfying the Consent Judgment. The

Consent Judgment in this case, is a contract that was negotiated at arm’s length by counsel for Ms.

Nettles and counsel for Midland Funding LLC, agreed to by Ms. Nettles, on one hand, and Midland

Funding LLC, on the other. Credit One Bank, N.A., is not a party to the Consent Judgment

contract, nor is a third-party beneficiary of the terms and conditions set forth in the Consent

Judgment, having sold the debt to one company, who sold it to another, who then sold it to Midland

Funding who then sued Plaintiff upon it in Michigan. The Consent Judgment, entered by the state

court judge, is the only contract for this Court to examine in determining whether Defendants can

compel arbitration. Defendants do not assert that the Consent Judgment contains an arbitration

provision. Indeed, the Consent Judgment does not provide an arbitration clause.
      Case: 1:18-cv-07766 Document #: 25 Filed: 02/25/19 Page 2 of 14 PageID #:176




          Alternatively, Defendants should be judicially estopped from claiming any rights under a

contract, as when suing Plaintiff in a state court in, Midland Funding purposefully elected to

proceed only on an account stated claim, choosing to ease its evidentiary burden in proceeding

before the state court using an affidavit, see Michigan, MCL 600.2145, in order to bypass Michigan

Court Rule 2.113(C)(1)’s attachment of the contract mandatory requirement. MCR 2.113(C)(1).1

Midland should not be permitted to disavow the existence of the Credit One Bank contract in state

court, only to seek to compel arbitration in federal court under that same disavowed contract.

          However, before this Court can rule on whether to deny Defendants’ motion to compel

arbitration, the Court must first determine whether Plaintiff’s allegations satisfied Article III’s

standing requirements, especially in light of Defendants assertion in their affirmative defenses that,

“Plaintiff lacks standing to maintain her claims, and thus, Plaintiff’s claims should be dismissed

for lack of jurisdiction.” (Defs. Answ., Doc #:14, PageID #:49 ¶ 10). Plaintiff has standing.

          Wherefore the reasons stated herein, Defendants’ motion to compel arbitration should be

denied.

                                                FACTS

          On or around March 2017, Defendant Blatt, Hansenmiller, Leibsker & Moore LLC,

(“BHL&M”), on behalf of Midland Funding, filed a lawsuit against Plaintiff in the 17th District

Court, State of Michigan, against Ms. Nettles. (Exhibit A). The state court complaint was not

based upon any contract, nor was any contract attached to the complaint. In the complaint,

Midland Funding alleged that it, “was the holder of a credit card or other consumer finance

account, ‘the Account,’ with CREDIT ONE BANK, N.A. having original account number

XXXXXXXXXXXX0849.” (Id).




1
    Formerly at MCR 2.113(F)(1).

                                                  2
    Case: 1:18-cv-07766 Document #: 25 Filed: 02/25/19 Page 3 of 14 PageID #:176




       Attached to the Complaint as Exhibit 1, was the Affidavit of Sheri Meline, “an officer for

MIDLAND FUNDING, LLC [who has] access to pertinent account records for Midland Credit

Management, Inc., (“MCM”), servicer of this account”, ending with the last four digits, “0849”.

(Id., Ex. 1 ¶¶ 1, 2). Ms. Meline further affirmed that she has, “access to and have reviewed the

Pertinent Records (including pertinent electronic records) concerning the account maintained by

MCM. The electronic records reviewed consist of data acquired from the seller when Plaintiff

purchased the account, together with records generated by MCM in connection with servicing the

account since the day the account was purchased by [Midland Funding, LLC].” (Id. ¶ 5). Ms.

Meline stated, “[t]he acquired and incorporated records are treated as trustworthy and accurate,

and are relied upon by Plaintiff and MCM in purchasing and servicing this account because the

original creditor was required to keep careful records of the account at issue in this case as required

by law and/or suffer business loss.” Ms. Meline concludes her affidavit stating, in part, “As of

2017-02-28, MCM’s records show that the balance of $601.67 remains due and owing and no

interest has been assessed to the account.” (Id. ¶ 7). Notably, Ms. Meline’s Affidavit is titled:




       (Exhibit A, Ex. 1).

       The state court complaint sought an “amount of $601.97 plus costs”, the statement of

account attached to the complaint, the “CREDIT ONE BANK CARD STATEMENT” ending July

16, 2016, showed a “New Balance” of “$601.97”. (Exhibit A).


                                                  3
   Case: 1:18-cv-07766 Document #: 25 Filed: 02/25/19 Page 4 of 14 PageID #:176




       Ms. Nettles retained legal counsel in relation to the state court lawsuit, Mr. Evanchek, an

attorney at Kelley & Evanchek, in Canton, Michigan, who then engaged in arms lengths

negotiations with Ms. Nonis, an attorney at BHL&M, to settle the claim brought against Ms.

Nettles. See (Exhibit B). In the email exchanges between counsel, on June 28, 2017, Ms. Nonis

asked, in part, “[p]lease advise . . . whether she is willing to resolve this matter”, to which Mr.

Evanchek responded, “I can offer $50/mo until PDIF, no interest on the judgment.” (Id.). Ms.

Nonis, on behalf of Midland Funding, accepted the offer stating, “[t]hat would be fine, it would

have to be a consent judgment. We do not charge interest or any other fees post judgment. See

attached. Once singed and scanned back I will submit to the court.” (Id.). Mr. Evanchek, on Ms.

Nettles behalf, signed the Consent Judgment, allowing judgment to be entered against Ms. Nettles,

which provided the following “Other conditions”:

       Defendant shall pay $50.00 per month beginning 08/01/2017 until paid in full. Should
       Defendant fail to comply with this agreement in any manner, Plaintiff may file an Affidavit
       of Non-Compliance and commence all legal collection activity on the remaining balance.

       (Id.)

       Ms. Nonis, on behalf of Midland Funding, signed the Consent Judgment agreeing to all the

terms contained therein. (Exhibit C). The state court later signed the Consent Judgment, and

judgment was entered for Midland Funding in the total amount of $689.37, comprised of

“Damages” of “$601.97” and “Costs(fees)” of “87.40” (Id.). Notably, no interest is permitted by

either the agreement brokered by counsel for the parties, or the Consent Judgment itself. (Exhibit

B); (Exhibit C) (“ORDER OF JUDGMENT NOT INCLUDING STATUTORY INTEREST”).

       In compliance with the Consent Judgment, Plaintiff electronically paid from her bank

account $50 per month for the months of August, September, and October, 2017, until BHL&M

unilaterally stopped accepting Plaintiff’s payments. (Doc 1, Complaint, ¶¶ 26-28, 30). BHL&M




                                                4
    Case: 1:18-cv-07766 Document #: 25 Filed: 02/25/19 Page 5 of 14 PageID #:176




“permanently closed . . . on December 15, 2017.” (Exhibit D). As of October 3, 2017, Plaintiff

only owned $539.37 on the Consent Judgment. (Id. ¶ 29).

        Midland Credit Management sent, and Plaintiff received a letter dated June 4, 2018,

indicating, in part, “Current Balance:      $643.59” (Exhibit E). The letter identifies the same

original creditor, as in the lawsuit, Credit One Bank, N.A., and the same last four digits of the

account number, 0849, as the account number in the state court lawsuit. Compare (Exhibit A) with

(Exhibit E).

                                            ARGUMENT

        As a preliminary matter, Henry Schein, Inc. v. Archer & White Sales, Inc., __ U.S. __, 139

S. Ct. 524, 202 L E.D. 480 (2019), cited by Defendants, (Defs. Mtn, p. 2), is not applicable to this

case, as the purported agreement Defendants are proceeding under, section, Claims Not Covered,

expressly provides that, “disputes about the validity, enforceability, coverage or scope of this

Arbitration Agreement or any part thereof are not subject to arbitration and are for a court to

decide.” ((Doc. 19-1, PageID #:98).

   I.      THE COURT MUST FIRST DETERMINE WHETHER PLAINTIFF’S ALLEGATIONS
           SATISFY ARTICLE III’S STANDING REQUIREMENTS, BEFORE RULING ON THE
           MOTION TO COMPEL ARBITRATION

        Defendants have asserted in their affirmative defenses that, “Plaintiff lacks standing to

maintain her claims, and thus, Plaintiff’s claims should be dismissed for lack of jurisdiction”,

(Defs. Answ., Doc #:14, PageID #:49 ¶ 10), but seemingly concede that Plaintiff has satisfied

Article III’s standing requirements by requesting this Court to compel arbitration. A court must

first determine whether they have proper jurisdiction over the matter before ruling upon a motion

to compel arbitration. E.g. Willams v. TCF Nat’l Bank, 2013 U.S. Dist. LEXIS 28074 * 1-2 n. 1

(N.D. Ill. Feb. 26, 2013) (Chang, J.).




                                                 5
    Case: 1:18-cv-07766 Document #: 25 Filed: 02/25/19 Page 6 of 14 PageID #:176




         After Spokeo v. Robins, 136 S. Ct. 1540, 1549, 194 L. Ed. 2d (2016), federal courts are

inconsistent in their rulings over what exactly satisfies Article III’ standing requirements. Plaintiff

asserts that Justice Thomas’ concurrence in Spokeo is the correct analysis. Spoeko, 136 S. Ct. at

1553-1554 (Thomas, J.) (concurring) (“If Congress has created a private duty owed personally to

Robins to protect his information, then the violation of the legal duty suffices for Article III injury

in fact.”). In the Sixth Circuit, Macy v. GC Servs. L.P., 897 F.3d 747 (6th Cir. 2018), which

addressed the issue of standing in the Fair Debt Collection Practices Act context, is on point. see

also Lane v. Bayview Loan Servicing, LLC, 2016 U.S. Dist. LEXIS 89258 *7-8 , 2016 WL

3671467 (N.D. Ill. July 11, 2016) (Chang, J):

         To be sure, if a plaintiff suffers actual monetary damages, then almost surely the Article
         III concrete-harm requirement is satisfied. But even though actual monetary harm is a
         sufficient condition to show concrete harm, it is not a necessary condition. Put another way,
         even absent actual monetary damages, it is still possible to satisfy the concrete-harm
         requirement[.]

         Here Plaintiff’s allegation is monetary in nature, that the Midland Defendants were

attempting to collect more money that what Ms. Nettles owed on the amount of the Consent

Judgment at the time of the subject letter. Put another way, the Midland Defendants were not

crediting Plaintiff the full amount of monies she paid towards the Consent Judgment and sought

to collect amounts not owed. Plaintiff’s claims are similar to a common law abuse of process

claim.

         The law is clear that seeking an amount of money not owed violates 15 U.S.C. § 1692f,

f(1). See Long v. Shorebank Dev. Corp., 182 F.3d 548 (7th Cir. 1999) (seeking an amount of

money not owed violates the FDCPA); see Taylor v. Midland Credit Mgmt., Inc., 2008 U.S. Dist.

LEXIS 14328 * 12 (W.D. Mich. Feb. 26, 2008) (citing Beattie v. D.M. Collections, Inc., 754 F.

Supp. 383, 392 (D. Del. 1991)) (“by its terms § 1692f(1) addresses the abusive practice of

collecting an amount greater than that which is owing[.]”). Therefore, Plaintiff’s claims under



                                                  6
    Case: 1:18-cv-07766 Document #: 25 Filed: 02/25/19 Page 7 of 14 PageID #:176




FDCPA § 1692f, f(1), are exactly a Congressional private duty owed personally to Ms. Nettles and

the Midland Defendants’ violation of that legal duty suffices for an Article III injury in fact.

Therefore, as Plaintiff has satisfied Article III’s standing requirements, this Court has jurisdiction

to rule on Defendants’ motion to compel arbitration.

   II.      THE CONTRACT AT ISSUE IS THE CONSENT JUDGMENT, WHICH DOES NOT CONTAIN
            AN ARBITRATION PROVISION

         The subject collection letter seeking to collect $643.59, (Exhibit D), is an attempt to collect

the Consent Judgment of $689.37, and not the “New Balance” of “$601.97” referred to in the

“CREDIT ONE BANK CARD STATEMENT” ending July 16, 2016, as sought-after state court

complaint. See (Exhibit A); see also (Defs. Mtn., p. 3) (citing Weis Decl. ¶ 10, Ex. D) (“The

Nettles Account was charged off on July 17, 2016. [] The balance of the Nettles Account at the

time of the charge off was $601.97”); see also McDonald v. Asset Acceptance, LLC, 296 F.R.D.

513, 524-26 (E.D. Mich. 2013) vacated by agreement of the parties, 2016 U.S. Dist. LEXIS

102182 (E.D. Mich. June 23, 2016) (interest due to the original creditor can be waived by not

submitting bills to the debtor after charge-off).        Therefore, the contract at issue to which

Defendants’ collection actions seeking to collect $643.49, was based upon was the Consent

Judgment entered in the amount of $689.37, not the Credit One Bank card account that had a

balance of $601.97. Because of the judgment, Midland Funding’s claim for monies in excess of

the judgment (minus setoff for the $150 in payments) is also barred by res judicata. See Buck v.

Thomas M. Cooley Law School, 597 F.3d 812, 817 (6th Cir. 2012).

         In consideration of monthly payments of $50 and no post-judgment interest being assessed

against her, Ms. Nettles waived all of her defenses in the case and entered into a contract with

Midland Funding, the Consent Judgment. The Consent Judgment is a contract that was negotiated

at arm’s length by counsel for Ms. Nettles and counsel for Midland Funding LLC, agreed to by

Ms. Nettles, on one hand, and Midland Funding LLC, on the other. The Consent Judgment, entered


                                                   7
    Case: 1:18-cv-07766 Document #: 25 Filed: 02/25/19 Page 8 of 14 PageID #:176




by the state court judge, is the only contract for this Court to examine in determining whether

Defendants can compel arbitration. See Acorn Investment Co. v. Mich. Basic Prop. Ins. Ass’n, 495

Mich. 338, 354 (Mich. 2014) (“a consent judgment is a settlement or a contract that becomes a

court judgment when the judge sanctions it”). The Consent Judgment entered into in Michigan

and entered by a Michigan state court judge is subject to Michigan law. See Jones v. State Farm

Mut. Auto Ins. Co., 202 Mich. App 393, 398 (Mich. App. 1993), mod on other grounds by

Patterson v. Kleiman, 447 Mich. 429, 433 n 3 (Mich. 1994). (subject to an exception that is not

applicable here, “interpretation of contract provisions is governed by the law of the state in which

the contract was entered”).

       In, In re FDCPA Cognate Cases, mentioned by Plaintiff’s counsel in open Court, the Chief

Judge of the Western District of Michigan in denying the defendants’ motions to compel

arbitration, where the allegations, like here, involved post-judgment collections misconduct in the

State of Michigan, held:

       But even if the Court assumes, for purposes of argument, that arbitration clauses like those
       included in exemplar copies were actually in effect for Plaintiffs, the Court is still not
       satisfied that the FDCPA claim at issue here is covered by such an arbitration clause. Yes,
       the language in the exemplars is broad, and yes, it does cover non-signatory third-parties
       such as Defendants. But it is still limited in one critical respect: namely, it covers only the
       claims ‘arising from or relating to [the cardmember agreement], or the relationships which
       result from [the cardmember agreement].’ But Plaintiffs' claim in these cases is no longer
       about the original cardmember agreement in any respect; rather, the claim is that
       Defendants reduced any claims they acquired under the cardmember agreement to a state
       court judgment, and that Defendants then violated the FDCPA in pursuit of collection
       efforts on the judgment, not the original account itself. The entry of a judgment is
       significant because it merges into itself under Michigan law all the claims, defenses and
       counterclaims that the parties had arising out of the original cardmember agreements. See
       Buck v. Thomas M. Cooley Law School, 597 F.3d 812, 817 (6th Cir. 2012) (res judicata
       ‘bars not only claims already litigated, but also every claim arising from the same
       transaction that the parties . . . could have raised but did not’). Once judgment enters, the
       terms of any cardmember agreement are beside the point; what controls the rights and
       duties of the parties post-judgment are the law and rules applicable to the judgment itself.

       Hunter v. Mary Jane Elliott, PC, 2014 U.S. Dist. LEXIS 89159 *8 - 9, 2014 WL 2933230

(W.D. Mich. June 30, 2014) (Yonker, C.J.), sub. nom. In re FDCPA Cognate Cases.


                                                 8
   Case: 1:18-cv-07766 Document #: 25 Filed: 02/25/19 Page 9 of 14 PageID #:176




       Defendants’ motion concedes, that the Bank One Credit agreement they are proceeding

under, has a similar clause as In re FDCPA Cognate Cases, in which Midland emphasizes the

provision as follows: “[c]laims subject to arbitration include, but are not limited to, disputes

relating to . . . collections matters relating to your Account.” (Defs. Mtn. p. 12) (citing Weise

Decl. at Ex. C at Change in Terms (p.6) (emphasis by Defendants original).

       Defendants’ motion however fails to identify, what the term “Account” means, under the

Credit One Bank Agreement. The document attached as Exhibit C to the Weise Declaration,

defines what the term “Account” refers to, as follows:

       This Agreement, together with the application you previously singed and the enclosed
       Arbitration Agreement, governs the use of your VISA® or Mastercard® Account issued
       byCredit One Bank, N.A. (the ‘Account,’ ‘Card’ or ‘Card Account’).

       (Doc. 19-1, PageID #:92); see also (Doc. 19-1, PageID #:98), The CHANGES IN TERMS,

effective January 2016, which in part provides:

       Credit One Bank, N.A. (the ‘Bank’) is making important cases to the VISA/MasterCard
       Cardholder Agreement. Disclosure and Arbitration Agreement (the ‘Agreement’) that
       governs your credit card account (the ‘Account’) with the Bank.

       The entire “Claims Covered” section of the Credit One Bank Agreement’s Change in

Terms regarding Arbitration, are expressly limited to the “Account”, as follows:

       Claims subject to arbitration include, but are not limited to, disputes relating to the
       establishment, terms, treatment, operation, handling, limitations on or on or termination of
       your Account; any disclosures or other documents or communications relating to your
       Account; any transactions or attempted transactions involving your Account whether
       authorized or not; billing, billing errors, credit reporting, the posting of transactions,
       payment or credits, or collection matters relating to your Account[;] services or benefits
       programs relating to your Account, whether or not they are offered, introduced, sold or
       provided by us; advertisements, promotions, or oral or written statements related to (or
       preceding the opening of) your Account, goods or services financed under your Account,
       or the terms of financing; the application, enforceability or interpretation of the Card
       Agreement (except for this Arbitration Agreement); and any other matters relating to your
       account, a prior related Account or the resulting relationships between you and us. Any
       questions about whet Claims are subject to arbitration shall be resolved by interpreting this
       Arbitration Agreement in the broadest way the law will allow it to be enforced.

       (Id.) (emphasis added).


                                                  9
   Case: 1:18-cv-07766 Document #: 25 Filed: 02/25/19 Page 10 of 14 PageID #:176




          The Consent Judgment, the contract for which Defendants’ collection activity was based

upon, is not the “Account” defined in the Bank One Credit Agreement. Defendants’ collection

attempt was in regard to the Consent Judgment, a separate and distinct contract between Midland

Funding and Plaintiff, supported by separate and distinct consideration, without regard to Bank

One. Furthermore, Plaintiff is not asserting any right or a dispute under the cardholder Agreement.

          Defendants do not assert that the Consent Judgment contains an arbitration provision. “[A]

party cannot be required to submit to arbitration any dispute which he has not agreed so to submit.”

United Steelworkers of Am. v. Warrior & Gulf Navigation Co., 363 U.S. 574, 582, 80 S. Ct. 1347,

4 L. Ed. 2d 1409 (1960). Therefore, Defendants’ motion to compel arbitration must be denied.

   III.      ALTERNATIVELY, DEFENDANTS SHOULD BE JUDICIALLY ESTOPPED FROM
             COMPELLING ARBITRATION

          Midland Funding sued Plaintiff on an “Account” stated theory, and Ms. Meline’s affidavit

does not mention the existence of any contract between Ms. Nettles and the original creditor, just

an “account”. (Exhibit A). Michigan Court Rule 2.113(C)(1) requires that, “[i]f a claim or defense

is based on a written instrument, a copy of the instrument or its pertinent parts must be attached to

the pleading as an exhibit. . . .” MCR 2.113(C)(1). The Michigan Supreme Court in Fisher Sand

& Gravel Co. v. Neal A. Sweebie, Inc., 494 Mich. 543 (Mich. 2013), held that, “the creditor’s remedy

is to timely pursue a breach of contract action when the debtor fails to live up to the terms of the

underlying agreement. But when the credit relationship is not defined as an integral part of the

transaction for goods or services, and instead arises from a course of dealing between the parties, an

open account claim may arise by implied contract.” Id. at 568.

          In Michigan, “[t]he creation of an account stated requires the assent of both parties to the

account. If an account stated exists, and unanswered affidavit . . . creates a prima facie case that

the party failing to respond owes the other party the amount stated.” Cit Tech. Fin. Servs. v. Detroit

Bd. Of Educ. & Detroit School District , 2010 Mich. App. LEXIS 1446 * 7 (Mich. App. July 27,


                                                   10
    Case: 1:18-cv-07766 Document #: 25 Filed: 02/25/19 Page 11 of 14 PageID #:176




2010) (unpublished) (quoting Echelon Homes, LLC, 261 Mich App at 435; citing MCL 600.21452).

Midland Funding by suing on an account stated, supported by an affidavit, and not on a contract,

is a trap to an unsophisticated consumer under Michigan law, who may wrongfully assume that

they can simply dispute the claim in an answer, as one could do in response to a breach of contract

action. See e.g. (Exhibit F, Sun Homes Inc, v. Hudson, State of Michigan, 67-2 Judicial District,

Plaintiff’s Brief in Support of Motion for Summary Disposition, pp. 5-6) (“In this instant case,

Plaintiff filed and served an affidavit of account upon the Defendant. Defendant has failed to file

a counter-affidavit. Plaintiff has thus created a prima facie case of indebtedness pursuant to MCL

600.2145”). Midland Funding, by selecting to proceed on only an account stated claim, purposely

chose to ease its evidentiary burden in proceeding before the state court and to bypass Michigan

Court Rule 2.113(C)(1)’s attachment of the contract requirement. MCR 2.113(C)(1).



2
  MCL 600.2145 provides, “In all actions brought in any of the courts of this state, to recover the
amount due on an open account or upon an account stated, if the plaintiff or someone in his behalf
makes an affidavit of the amount due, as near as he can estimate the same, over and above all legal
counterclaims and annexes thereto a copy of said account, and cause a copy of said affidavit and
account to be served upon the defendant, with a copy of the complaint filed in the cause or with
the process by which such action is commenced, such affidavit shall be deemed prima facie
evidence of such indebtedness, unless the defendant with his answer, by himself or agent, makes
an affidavit and serves a copy thereof on the plaintiff or his attorney, denying the same. If the
defendant in any action gives notice, with his answer of a counterclaim founded upon an open
account, or upon an account stated, and annexes to such answer and notice a copy of such account,
and an affidavit made by himself or by someone in his behalf, showing the amount or balance
claimed by the defendant upon such account, and that such amount or balance is justly owing and
due to the defendant, or that he is justly entitled to have such account, or said balance thereof, set
off against the claim made by said plaintiff, and serves a copy of such account and affidavit, with
a copy of such answer and notice, upon the plaintiff or his attorney, such affidavit shall be deemed
prima facie evidence of such counterclaim, and of the plaintiff’s liability thereon, unless the
plaintiff, or someone in his behalf, within 10 days after such service in causes in the circuit court,
and before trial in other cases, makes an affidavit denying such account or some part thereof, and
the plaintiff’s indebtedness or liability thereon and serves a copy thereof upon the defendant or his
attorney, and in case of a denial of part of such counterclaim, the defendant’s affidavit shall be
deemed to be prima facie evidence of such part of the counterclaim as is not denied by the
plaintiff’s affidavit. Any affidavit in this section mentioned shall be deemed sufficient if the same
is made within 10 days next preceding the issuing of the writ or filing of the complaint or answer.”


                                                  11
   Case: 1:18-cv-07766 Document #: 25 Filed: 02/25/19 Page 12 of 14 PageID #:176




        In proceeding before the state court, Midland Funding by circumventing the attachment of

contract requirement of MRC 2.113(C)(1), and instead suing on an account stated theory,

disavowed the existence of the very contract they now seek to use in support of their motion to

compel arbitration. Judicial estoppel is an equitable doctrine which “prevents a party from

adopting a position in a legal proceeding contrary to a position successfully argued in an earlier

legal proceeding.” Johnson v. ExxonMobil Corp., 426 F.3d 887, 891 (7th Cir. 2005).                   Its

“uniformly recognized” purpose is “to protect the integrity of the judicial process.” New

Hampshire v. Maine, 532 U.S. 742, 749, 121 S.Ct. 1808, 1814 (2001). Judicial estoppel may apply

when (1) a party’s later position is clearly inconsistent with her earlier position; (2) the party to be

estopped convinced the first court to adopt its position; and (3) the party seeking to assert an

inconsistent position would derive an unfair advantage on an opposing party if not estopped.

Maine, 532 U.S. at 750-751 (internal citations omitted).

        In Michigan, under MCL 600.2145, a plaintiff receives the benefit of reducing their

evidentiary burden if they submit an affidavit, and are entitled to summary disposition if no counter

affidavit is filed by the defendant. MCL 600.2145. The state court in entering the consent

judgment adopted Midland Funding’s position of an account stated and did not sue sponte dismiss

the case as being frivolous. Plaintiff would more than likely have been able to defend against a

breach of contact case given the multiple sales of the debt, the apparent lack of a contact available

to Midland to sue upon, see (Exhibit A), or that Midland would not even be able to find the correct

contract. see (Exhibit G) (letter from Midland’s counsel demanding arbitration with a different

contract than the contract submitted to the Court under oath); (Exhibit H) (Midland’s Disclosures

not identifying by name anyone at Midland, and not identifying anyone at Credit One Bank with

knowledge to support its defenses, which would include arbitration, or anyone who made any

statements in support, yet have submitted affidavits, statements in this case to support arbitration).



                                                  12
   Case: 1:18-cv-07766 Document #: 25 Filed: 02/25/19 Page 13 of 14 PageID #:176




To allow Defendants to change course permitting them to assert the Credit One contract Midland

Funding disavowed in order to proceed in state court with a lessor evidentiary burden, would be

patently unfair.

        IV.     If Arbitration is Compelled, the Court Should Stay, not Dismiss the Action

       The Supreme Court on multiple occasions has stated that 9 U.S.C. § 3 mandates a stay once

arbitration is compelled. In Prima Point Corp. v. Flood & Conklin Mfg. Co., 388 U.S. 395, 404,

87 S. Ct. 1801 (1967), the Court held that motions to compel arbitration under FAA § 2, which

Defendants here moved under, “requires a federal court in which suit has been brought ‘upon any

issue referable to arbitration under an agreement in writing for such arbitration’ to stay the court

action pending arbitration once it is satisfied that the issue is arbitrable under the agreement.”

Prima Point Corp., 388 U.S. at 400 (citing 9 U.S.C. § 3) (emphasis added).

        After Prima Point Corp., Supreme Court’s mandate for a district court to stay a proceeding

under FAA § 3, when compelling arbitration under FAA § 4, is consistent over the decades.

Shearson/American Express v. McMahon, 482 U.S. 220, 226 (1987) (emphasis added) (“The Act

also provides that a court must stay its proceedings if it is satisfied that an issue before it is

arbitrable under the agreement, § 3; and it authorizes a federal district court to issue an order

compelling arbitration if there has been a ‘failure, neglect, or refusal’ to comply with the arbitration

agreement, § 4.”); Rent-A-Center, W., Inc. v. Jackson, 561 U.S. 63, 70 (2011) (“[F]ederal courts

can enforce the agreement by staying federal litigation under § 3 and compelling arbitration under

§ 4.”) Rent-A-Center, W., Inc. v. Jackson, 561 U.S. 63, 70 (2011). See also id. at 77 (Stevens, J.)

(dissenting) (“The FAA, therefore, envisions a limited role for courts asked to stay litigation and

refer disputes to arbitration.”)

        If a court were to dismiss an action, the statute of limitations would start to run again, and

a savvy defendant could simply run out the clock by not filing for the arbitration or pay their



                                                  13
   Case: 1:18-cv-07766 Document #: 25 Filed: 02/25/19 Page 14 of 14 PageID #:176




required arbitration fees if the claimant initiated the arbitration, thereby resulting in a dismissal of

the action by the arbitrator. Dismissing and not staying the action, creates a jurisdictional issue to

a plaintiff’s determent. “Section 10 of the Federal Arbitration Act (FAA), 9 U.S.C. § 10, allow[s]

federal district courts to vacate arbitration awards, [it] does not confer upon federal district courts

subject matter jurisdiction.” Perpetual Secs., Inc. v. Tang, 290 F.3d 132, 136 (2d Cir. 2002) (citing

United States v. Am. Soc. of Composers, Authors & Publishers, 32 F.3d 727, 731 (2d Cir. 1994);

Harry Hoffman Printing v. Graphic Communications, Int'l Union, Local 261, 912 F.2d 608, 611

(2d Cir. 1990); see also Moses H. Cone Mem'l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 25

n.32, 74 L. Ed. 2d 765, 103 S. Ct. 927 (1983) (“‘The Arbitration Act is something of an anomaly

in the field of federal-court jurisdiction. It creates a body of federal substantive law establishing

and regulating the duty to honor an agreement to arbitrate, yet it does not create any independent

federal-question jurisdiction.’”). “There must be an independent basis of jurisdiction before a

district court may entertain petitions under the Act.” Id. (citing Harry Hoffman Printing, 912 F.2d

at 611). Therefore, if a case is dismissed without prejudice so the parties can initiate arbitration,

the court would not maintain jurisdiction over the merits to the advantage of a dilatory defendant

who could successfully run out the statute of limitations.

                                          CONCLUSION

        WHEREFORE the reasons stated above, Plaintiff requests this Honorable Court to deny

Defendants’ Motion to Compel Arbitration, but if granted, Plaintiff demands a stay under the FAA.

                                        Respectfully submitted,
                                        s/ Curtis C. Warner
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                                                  14
